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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 04-23127-Civ-COOKE/TURNOFF

   TYCO FIRE & SECURITY, LLC,
   PHILLIO MCVEY, and GEORGE AZZE,

   Plaintiffs,

   v.

   JESUS HERNANDEZ ALCOCER,
   JORGE HERNANDEZ TORRES, EMILIO
   ESPINOLA, RAIF SHAHIN ISAAC,
   GONZALO QUESADA SUAREZ, DAVID
   CALDERON ISLAS, LUIS MONTIEL
   VILCHIS, HORACIO CANTU DIAZ, ALERT
   24, LLC, and JOHN DOES 1 THROUGH 10,

   Defendants.
   _______________________________________/

                                     ORDER OF DISMISSAL

           THIS CASE has been DISMISSED with prejudice pursuant to Federal Rule of Civil

   Procedure 41(a)(1)(A)(ii). (Joint Stip. Dismissal with Prejudice, ECF No. 171). The Clerk shall

   CLOSE this case. All pending motions, if any, are DENIED as moot.

           DONE and ORDERED in chambers, at Miami, Florida, this 29th day of October 2012.




   Copies furnished to:
   William C. Turnoff, U.S. Magistrate Judge
   Counsel of record
